Case
 Case2:18-cv-09347-SRC-CLW
       2:18-cv-09347-SRC-CLW Document
                             Document87 Filed
                                        Filed06/25/18
                                              07/26/18 Page
                                                        Page  1 of
                                                            1 of   2 PageID:
                                                                 2 PageID: 6769



Michael E. Patunas                                                     CLOSED
PATUNAS LAW LLC
24 Commerce Street, Suite 606
Newark, NJ 07102
mpatunas@patunaslaw.com
(973) 396-8740
(973) 396-8743

OF COUNSEL:
James F. Hurst
Marcus E. Sernel, P.C.
Hari Santhanam
KIRKLAND & ELLIS LLP
300 North LaSalle
Chicago, IL 60654
(312) 862-2000

Jeanna M. Wacker
Mira A. Mulvaney
Gregory Springsted
KIRKLAND & ELLIS LLP
601 Lexington Avenue
New York, NY 10022
(212) 446-4800

Attorneys for Plaintiff
Impax Laboratories, Inc.

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


                                          )
IMPAX LABORATORIES, INC.,                 )
                                          )
              Plaintiff,                  )
                                          )   Honorable Stanley R. Chesler
       V.                                 )
                                          )   Civil Action No: 18-9347 (SRC-CLW)
ACTAVIS LABORATORIES FL, INC., AND        )
ACTAVIS PHARMA INC.,                      )
                                          )
          Defendant.                      )
- - - - - - - - - - - - - - - - -



            VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41{a)(l )(A){i)
Case
 Case2:18-cv-09347-SRC-CLW
       2:18-cv-09347-SRC-CLW Document
                             Document87 Filed
                                        Filed06/25/18
                                              07/26/18 Page
                                                        Page  2 of
                                                            2 of   2 PageID:
                                                                 2 PageID: 6870



       Pursuant to F.R.C.P. 41(a)(l)(A)(i) of the Federal Rules of Civil Procedure, the plaintiff

Impax Laboratories, Inc. hereby gives notice that the above captioned action is voluntarily

dismissed, without prejudice against defendant(s) Actavis Laboratories FL, Inc., and Actavis

Pharma Inc.


June 25, 2018


                                      By its attorneys,

                                       /s/ Michael E. Patunas
SO ORDERED.                           Michael E. Patunas
s/ Stanley R. Chesler, USDJ           PATUNAS LAW LLC
                                      24 Commerce Street, Suite 606
                                      Newark, NJ 07102
                                      mpatunas@patunaslaw.com
                                      (973) 396-8740
                                      (973) 396-8743


                                      Of Counsel

                                      James F. Hurst
                                      Marcus E. Sernel, P.C.
                                      Hari Santhanam
                                      KIRKLAND & ELLIS LLP
                                      300 North LaSalle
                                      Chicago, IL 60654
                                      (312) 862-2000

                                      Jeanna M. Wacker
                                      Mira A. Mulvaney
                                      Gregory Springsted
                                      KIRKLAND & ELLIS LLP
                                      601 Lexington Avenue
                                      New York, NY 10022
                                      (212) 446-4800

                                      Attorneys for Plaintiff Impax
                                      Laboratories, Inc.
